4:06-cr-03102-RGK-DLP    Doc # 70    Filed: 02/22/07   Page 1 of 14 - Page ID # 204



                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,             )
                                      )
                    Plaintiff,        )                 4:06CR3102
                                      )
              v.                      )
                                      )
ANDRANETTE FOSTER, and LATHON         )         REPORT, RECOMMENDATION,
WIDER,                                )                AND ORDER
                                      )
                    Defendants.       )
                                      )


     The defendants have moved to suppress physical evidence and
statements arising from the traffic stop of the vehicle they
occupied while driving on Interstate 80 in Nebraska on June 2,
2006.       See filings 38 and 43.    Nebraska State Patrol Trooper
Frederick initiated the traffic stop.            The defendants claim:

     •         The traffic stop was illegal;

     •         Trooper Frederick stopped the vehicle because the
               defendants are African American;1 and

        •      The defendants were unlawfully detained following the
               stop.




     1
      There is no evidentiary showing to support a claim of
selective enforcement in violation of the Fourteenth Amendment.
Without at least a threshold showing, the defendants were not
entitled to an evidentiary hearing on any alleged denial of Equal
Protection in violation of the Fourteenth Amendment. See e.g.
United States v. Armstrong, 517 U.S. 456 (1996); United States v.
Perry, 152 F.3d 900, 903 (8th Cir. 1998); United States v.
Kelley, 152 F.3d 881, 885 (8th Cir. 1998). An evidentiary
hearing on the defendants’ motions to suppress was conducted and
no evidence in support of the Fourteenth Amendment claim was
offered by either defendant. Accordingly, the Fourteenth
Amendment claims will not be addressed in this report and
recommendation and should be denied.
4:06-cr-03102-RGK-DLP   Doc # 70   Filed: 02/22/07   Page 2 of 14 - Page ID # 205



The defendants moved to suppress “all items of evidence which
were seized, and particularly all items which were obtained in
violation of the fourth, fifth, ninth, and fourteenth amendments
to the Constitution of the United States.” Filing 38, (Wider
Motion) at p.2.    See also filing 43 (Foster Motion) at p.2.2


     An evidentiary hearing was held on January 10, 2007.                At the
close of the evidentiary hearing, the defendants clarified that
they seek suppression of the evidence on the grounds previously
indicated, but also as a violation of the de minimis intrusion
requirement for canine sniffs conducted without reasonable
suspicion.   Filing 64 (transcript) at p. 56.           The parties have
filed their post-hearing briefs, and the motion is now fully
submitted.


                            FACTUAL FINDINGS

     On June 2, 2006, at approximately 10:30 p.m., the defendants
were traveling eastbound on Interstate 80 near Lincoln, Nebraska.
Defendant Foster was driving a white Budget rental truck rented
by Theresa Patman.      Defendant Wider, who was a front seat
passenger at the time of the traffic stop, was listed as a driver
on the truck rental agreement.       Defendant Foster was not listed
as an authorized driver.      Ex. 3 (Budget rental agreement).


     Trooper Frederick was on duty in the carrier enforcement
office of the Waverly Eastbound Scale located at mile marker 415
on Interstate 80 in Cass County.         Among other duties, carrier
enforcement officers are charged with ensuring that each truck
instructed to exit and weigh complies with the posted signs.                 The

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      The defendants’ briefs, and the evidence offered at the
hearing, do not address any claims under the Fifth and Ninth
Amendments. Those claims are therefore deemed abandoned.

                                     2
4:06-cr-03102-RGK-DLP   Doc # 70   Filed: 02/22/07     Page 3 of 14 - Page ID # 206



procedure used by carrier enforcement officers to determine which
vehicles were required to exit varies according to traffic
conditions, personnel on staff, and each vehicle’s commercial
classification.    This process has both electronic and manual
components.   The electronic signs instructing drivers to exit can
be activated by a scale in the roadbed, or the carrier
enforcement officer can manually override the roadbed sensor to
instruct all trucks, or a particular sub-class determined by
weight, to exit.


     The photograph of each truck required to exit is displayed
on the video monitors within the carrier enforcement office.
Troopers are then required to visually observe that the truck
displayed has exited the interstate to enter the weigh station.
All electronic signs were in proper working order when Trooper
Frederick went on duty on June 6, 2006, and were manually set to
“all trucks must exit.”


     The video monitoring system in the carrier enforcement
office displayed a picture of defendants’ Budget rental truck in
one of the four quadrants of the display monitor.                The video
monitor alerted Trooper Frederick that the rental truck was
instructed to exit and weigh.       From his position inside the
carrier enforcement office, Trooper Frederick watched the
interstate to determine whether it exited as instructed.
Instead, he observed the rental truck proceed eastbound on
Interstate 80 without exiting at the weigh station.                Trooper
Frederick entered his patrol car, pursued the rental truck, and
initiated a traffic stop.


     The traffic stop was initiated at approximately 10:34 p.m.
The defendants pulled over immediately.              Trooper Frederick exited


                                     3
4:06-cr-03102-RGK-DLP    Doc # 70    Filed: 02/22/07    Page 4 of 14 - Page ID # 207



his vehicle and approached the passenger side of the vehicle to
speak with the defendants.          Trooper Frederick advised the
defendants that their vehicle was stopped for failing to exit at
the weigh station.      He requested defendant Foster’s driver’s
license and the truck’s lease agreement.               Ex. 1 (Frederick
videotape) at 22:34.


     While Foster searched for her operator’s license, Trooper
Frederick asked Wider about the origin of their trip.                  Wider
responded that they were traveling from Denver to Omaha,
Nebraska.    Still seated in the rental truck, Foster informed
Trooper Frederick that she was unable to find her driver’s
license.    Trooper Frederick asked Foster to step out of the
vehicle and be seated in the passenger side front seat of the
patrol car.    Foster complied with this request.              Wider remained
seated in the front passenger seat of the rental truck. Ex. 1
(Frederick videotape) at 22:34.


     Inside the patrol vehicle, defendant Foster stated she had a
valid Wisconsin license and her name was Andranette Carter.
Trooper Frederick contacted dispatch to determine if Andranette
“Carter” had a valid driver’s license.            He also requested
criminal history checks for both defendants.               While awaiting a
response from dispatch, Trooper Frederick asked Foster a number
of questions relating to the origin, purpose, and destination of
defendants’ trip.       During the course of the conversation, Foster
told Trooper Frederick that Wider was a friend of hers.                  Foster
also stated that she and Wider were driving back from Arizona
after dropping Foster’s daughter off to attend the University of
Arizona.    Ex. 1 (Frederick videotape) at 22:34-38.




                                        4
4:06-cr-03102-RGK-DLP   Doc # 70   Filed: 02/22/07   Page 5 of 14 - Page ID # 208



     In response to Trooper Frederick’s questions, Foster stated
that she could not remember when the truck was rented but
indicated it had been rented in Wider’s name.            Foster said that
she currently lives in Wisconsin, and prior to going to Arizona
for school, her daughter lived in Wisconsin as well.               However,
Foster could not recall the name of the city in Arizona where her
daughter currently lived, or what subject her daughter was
studying in college.     Ex. 1 (Frederick videotape) at 22:40-45.
Trooper Frederick asked why the defendants rented the truck in
Omaha when both Foster and her daughter lived in Wisconsin.
Foster explained that her sister lived in Nebraska and that some
of her daughter’s belongings were located at her sister’s house.
Ex. 1 (Frederick videotape) at 22:44.          Foster also indicated that
they opted to drive the rental truck back from Arizona because
she was afraid to fly.


     As of 10:45 p.m., dispatch had not yet responded to Trooper
Frederick’s request for information.          The officer called dispatch
again.    He again asked Foster whether she had a license.              She
said she did and stated that Wider had one as well.              Foster said
that she knew she passed the scale without stopping, but that she
didn’t believe she was required to weigh.            At approximately 10:46
p.m., dispatch advised Trooper Frederick that Foster did not have
a valid operator’s license and that she had a different last name
than the one provided.     In response to followup questioning,
Defendant Foster explained that she was going through a divorce
and implied that she had not legally returned to using her maiden
name.    Ex. 1 (Frederick videotape) at 22:52.          Dispatch also
indicated that Wider’s operator’s license was valid, but he had a
significant criminal history involving both weapons and drug
charges.



                                     5
4:06-cr-03102-RGK-DLP   Doc # 70   Filed: 02/22/07     Page 6 of 14 - Page ID # 209



     Trooper Robert Pelster, who was assigned to patrol
Interstate 80 on June 2, 2006, had arrived at the scene to assist
Trooper Frederick at approximately 10:40 p.m.              He exited his
patrol car to speak with Trooper Frederick at 10:48 p.m., and
while Trooper Frederick continued questioning Foster in his
patrol car, Trooper Pelster spoke with Wider.              Wider repeated the
story he told Trooper Frederick.         Wider stated they were coming
from Denver where they had moved his sister.              Trooper Pelster
asked Wider why they did not fly back to Omaha from Denver.
Wider explained that it would be less expensive to drive the
truck round trip than fly back one-way.              Trooper Pelster asked
Wider about his prior criminal history and confirmed that he had
numerous violations.     During the course of his conversation with
Wider, Trooper Pelster noted that Wider was smoking and the cab
of the vehicle was full of smoke.        He also saw three visible cell
phones in the cab of the truck, one of which was located on
Wider’s lap.


     While Foster was still seated inside the patrol vehicle,
Trooper Frederick issued Foster a citation for driving without a
license and instructed her that Wider would be required to drive
the vehicle from that point.       Trooper Frederick asked Foster to
sign the ticket and explained that she would need to appear in
court by July 11, 2007.     At approximately 11:08 p.m., Foster
began exiting the patrol car to return to the rental truck.
Before Foster reached the rental truck, Trooper Frederick asked
if he could ask her a few more questions.              Foster responded that
she was “really tired.”


     Trooper Pelster exited his vehicle and joined Trooper
Frederick as he spoke with Foster.         Trooper Frederick proceeded
to ask Foster whether she had anything in the cargo area of the


                                     6
4:06-cr-03102-RGK-DLP   Doc # 70   Filed: 02/22/07   Page 7 of 14 - Page ID # 210



rental truck.   She did not respond.        The troopers asked for
consent to search the vehicle.       Trooper Pelster explained that
the officers suspected criminal activity.            Foster responded by
indicating she could not consent to the search because she was
not responsible for the truck and that they should ask Wider.


     Trooper Pelster approached Wider, who was still seated in
the passenger seat of the rental truck, and asked Wider to exit
his vehicle.    Trooper Pelster conducted a weapons pat down search
of Wider and found a large amount of money but no weapons on his
person.   Ex. 5 (Pelster report), p. 2.         Trooper Pelster told
Wider that the troopers suspected criminal activity and requested
consent to search the vehicle.       Wider declined consent.


     Trooper Pelster informed Wider that a canine unit would be
called to the scene to conduct an external sniff of the rental
truck for the odor of narcotics, and told Wider and Foster to
remain at the scene until the canine arrived and the sniff was
completed.   Ex. 5 (Pelster report), p. 2.           Wider and Foster were
escorted to and seated in Trooper Frederick’s patrol vehicle.
Ex. 4 (Frederick report), p. 3.


     Immediately thereafter, Trooper Pelster summoned the canine
unit to conduct the sniff of the rental truck.             Ex. 6 (K-9
Deployment report).     Trooper Downing, who was located at the
Waverly weigh station, was the closest canine unit on duty.                 He
arrived at the scene at 11:22 p.m., approximately seven minutes
after Wider denied consent to search the vehicle.              Ex. 6 (K-9
Deployment report); Ex. 3 (Frederick report), p.3.3               The canine


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      The precise times on the in-car camera videotapes and
described in the officer’s reports are not entirely synchronized.
The undersigned notes, however, that for the most time-sensitive

                                     7
4:06-cr-03102-RGK-DLP   Doc # 70   Filed: 02/22/07   Page 8 of 14 - Page ID # 211



sniff was promptly initiated and the dog positively alerted to
the odor of narcotics at 11:24 p.m.         Ex. 6 (K-9 Deployment
report).    A probable cause search was then conducted which
revealed twenty-nine bundles of marijuana at the rear of the
truck concealed underneath blankets.          Ex. 4 (Frederick report),
p. 3.   Defendants Foster and Wider were immediately placed under
arrest.    Ex. 4 (Frederick report), p. 3.


                             LEGAL ANALYSIS


     The defendants claim Trooper Frederick violated the Fourth
Amendment by conducting an unlawful traffic stop.              Initiating a
traffic stop is lawful "where the police have probable cause to
believe that a traffic violation has occurred."             Whren v. United
States, 517 U.S. 806, 810 (1996).        Any traffic violation, no
matter how minor, provides a police officer with probable cause
to stop the vehicle.     United States v. Fuse, 391 F.3d 924, 927
(8th Cir. 2004); United States v. Herrera-Martinez, 354 F.3d 932,
934 (8th Cir. 2004); United States v. Linkous, 285 F.3d 716, 719
(8th Cir. 2002); United States v. Alcantar, 271 F.3d 731, 736 (8th
Cir. 2001).    “Courts are not to consider the motive for a stop as
long as the reason for the stop is valid.”            United States v.
Jones, 275 F.3d 673, 680 (8th Cir. 2001).            Although a traffic
stop cannot be pretextual, “so long as the officer is doing
nothing more than he is legally permitted and objectively
authorized to do, his actual state of mind is irrelevant for



issues raised by this motion to suppress, the videotape from
Trooper Pelster’s patrol vehicle, (Exhibit 2), most closely
aligns with the K-9 officer’s report. Ex. 9 (K-9 Deployment
report). Accordingly, the times set forth in this report and
recommendation are approximations derived from those two sources,
with approximate time spans provided by Trooper Frederick’s
report. Ex. 3 (Frederick report).

                                     8
4:06-cr-03102-RGK-DLP   Doc # 70   Filed: 02/22/07   Page 9 of 14 - Page ID # 212



purposes of determining the lawfulness of the stop."               Alcantar,
271 F.3d at 736.    See also Whren, 517 U.S. at 812; United States
v. Bell, 86 F.3d 820, 822 (8th Cir. 1996).           Police officers must
be able to point to specific and articulable facts warranting the
traffic stop.    Fuse, 391 F.3d at 927.


     Nebraska law provides:


     The driver of any motor truck, truck-tractor, semitrailer,
     trailer, or towed vehicle who fails to obey any sign,
     message board, or in-cab signal from any state weighing
     station or portable scale or who knowingly passes or
     bypasses any state weighing station or portable scale, when
     the station or scale is open and being operated by an
     officer of the Nebraska State Patrol, is guilty of a Class
     III misdemeanor.

Neb. Rev. Stat. §60-1308.      Trooper Frederick initiated a traffic
stop when defendants’ vehicle failed to stop at the weigh
station.   The defendants contend, however that this traffic stop
was illegal because Foster did not knowingly bypass the state
weigh station.    The defendants submit (1) that they were unaware
that the rental truck was designated within the class “motor
truck” thus requiring them to exit and weigh; and (2) that the
government has failed to meet its burden of establishing that the
signs were working properly on the evening of June 2, 2006.


     On the night of June 2, 2006, the weigh station signs were
operating properly and were manually set to “all trucks must
exit.”   Foster did not exit the interstate and enter the weigh
station as directed by the weigh station sign.             When the picture
of Foster’s vehicle was displayed on the weigh station in-office
monitor and Trooper Frederick observed the rental truck proceed
past the weighing station without stopping, he was justified in



                                     9
4:06-cr-03102-RGK-DLP   Doc # 70   Filed: 02/22/07   Page 10 of 14 - Page ID # 213



initiating a traffic stop of the vehicle for violating Neb. Rev.
Stat. §60-1308.


     The defendants claim their rental truck was not a “motor
truck” and therefore not required to stop at a Nebraska weigh
station.   They have cited no Nebraska case law in support of this
interpretation of Neb. Rev. Stat. § 60-1308, and the court has
found none.    Even assuming their statutory determination is
ultimately adopted by a Nebraska appellate court, I find the
traffic stop of defendants’ vehicle on June 2, 2006 did not
violate the Fourth Amendment.        The determinative question is not
whether defendants actually violated Nebraska law, but whether an
objectively reasonable police officer could have formed a
reasonable belief that a violation occurred.             United States v.
Martin, 411 F.3d 998 (8th Cir. 2005) (citations omitted).                See
also United States v. Smart, 393 F.3d 767, 770 (8th Cir. 2005).
Even if Trooper Frederick was mistaken in law or fact about the
existence of a violation, he had an objectively reasonable belief
that a Budget rental truck was a “motor truck” required to stop
as directed by the weigh station sign.           Trooper Frederick did not
violate the defendants’ rights by initiating a traffic stop.


     After stopping a vehicle, the trooper may lawfully ask any
questions reasonably related to the stop, which typically include
asking for the driver's license and registration, requesting the
driver to sit in the patrol car, and asking the driver about the
origin, destination, and purpose of his trip.             United States. v.
Ramos, 42 F.3d 1160, 1163 (8th Cir. 1994) (citing United States
v. Barahona, 990 F.2d 412, 416 (8th Cir. 1993); United States v.
Richards, 967 F.2d 1189, 1192-93 (8th Cir. 1992)).             An officer
may detain vehicle occupants while he performs the somewhat time-
consuming but routine tasks of writing a citation, and completing


                                     10
4:06-cr-03102-RGK-DLP   Doc # 70   Filed: 02/22/07    Page 11 of 14 - Page ID # 214



computerized checks of a driver's license, vehicle registration,
and criminal histories of the vehicle occupants.                Fuse, 391 F.3d
                                                          th
at 927; United States v. White, 81 F.3d 775 (8                 Cir. 1996).
Moreover, an officer does not violate the Fourth Amendment by
speaking with the driver and passenger, and asking both of them
questions about their trip plans.         See e.g. United States v.
Allegree, 175 F.3d 648, 650 (8th Cir. 1999)(holding the Fourth
Amendment was not violated where the sheriff separately
questioned the driver and passenger and developed reasonable
suspicion of criminal activity based on the divergence in their
answers).


     “If an officer’s suspicions are aroused in the course of
such an investigation, the officer is entitled to expand the
scope of the stop to ask questions unrelated to the original
traffic offense. . . .”       Allegree, 175 F.3d at 650.            “[T]he line
that separates a traffic stop from an investigative stop is
generally difficult to draw and artificial.”              United States v.
Long, 320 F.3d 795, 801 (8th Cir. 2003).             “[A]n investigative
stop can grow out of a traffic stop so long as the officer has
reasonable suspicion to expand his investigation, even if his
suspicions are unrelated to the traffic offense that served as
the basis for the stop.”      Long, 320 F.3d at 800.


     The defendants claim that they were unlawfully detained
following the stop because Trooper Frederick lacked reasonable
suspicion to believe criminal activity was afoot.                The following
facts were uncovered by the troopers during the course of this
traffic stop and before Trooper Frederick issued a citation to
Foster for driving without a license:


     •      The defendants’ stories regarding the purpose, origin,
            and destination of their trip were highly inconsistent;

                                     11
4:06-cr-03102-RGK-DLP   Doc # 70   Filed: 02/22/07   Page 12 of 14 - Page ID # 215




     •     multiple cell phones, which are often provided to drug
           couriers to facilitate contact with the drug supplier,
           were located in the rental truck;

     •     Wider had an extensive criminal history involving drug
           and weapons charges;

     •     Foster lied about having a valid operator’s license,
           gave Trooper Frederick the wrong name, stated she did
           not know who rented the truck or when it had been
           rented, and claimed she did not know the name of the
           city where her daughter was now living or her area of
           college study; and

     •     The person who actually rented the Budget rental truck
           was not present.

     Although each of these factors alone “is susceptible of
innocent explanation, and some factors are more probative than
others,” a “determination that reasonable suspicion exists . . .
need not rule out the possibility of innocent conduct.”                United
States v. Arvizu, 534 U.S. 266, 277 (2002).            “In evaluating
whether a set of facts would give rise to reasonable suspicion,
this court must look at the totality of the circumstances and not
just each independent fact standing alone.            Furthermore, the
court may consider any added meaning that certain conduct might
suggest to experienced officers in the field, trained in the
observation of criminal activity.”         United States v. Jones, 269
F.3d 919, 926-927 (8th Cir. 2001).        Based on the totality of
facts discovered by the officers during this traffic stop, I
conclude the officers had a reasonable articulable suspicion to
justify detaining the defendants after the traffic stop itself
was concluded, to await the arrival of a drug dog, so long as the
length of detention was not unreasonable. United States v.
Pulliam, 265 F.3d 736, 740 (8th Cir. 2001)(inconsistencies in
information regarding the trip and the relationship between the



                                     12
4:06-cr-03102-RGK-DLP   Doc # 70   Filed: 02/22/07   Page 13 of 14 - Page ID # 216



driver and passenger justified further detention of the driver
while the officer continued to investigate).


     The drug dog arrived at the scene of the traffic stop and
alerted to the odor of marijuana within the rental vehicle
approximately twenty minutes after defendant Foster was cited for
driving without a license, and within ten minutes after both
defendants refused to consent to a search of the vehicle.                The
length of this detention was not unreasonable and did not violate
the Fourth Amendment.      See e.g. United States v. White, 42 F.3d
457, 460 (8th Cir. 1994)(finding delay of one hour and twenty
minutes for arrival of drug dog reasonable); Bloomfield, 40 F.3d
at 916-17 (one hour wait from time of stop to arrest, part of
which was waiting for a drug dog, was reasonable).


     Citing Illinois v. Caballes, 543 U.S. 405, 407 (2005) and
United States v. Alexander, 448 F.3d 1014 (8th Cir. 2006), the
defendants claim their detention following the traffic stop was
not de minimus, and therefore unreasonably prolonged the traffic
stop in violation of the Fourth Amendment.            The defendants’
reliance on Caballes and Alexander is misplaced.              In Caballes,
the Court addressed the question of whether, in the absence of
any reasonable, articulable suspicion of on-going criminal
activity, motorists can constitutionally be detained following
the conclusion of a legitimate traffic to allow a drug-detection
dog to sniff a vehicle.      Cabellas explicitly narrowed its holding
to apply to cases where reasonable suspicion was lacking, opting
instead to “proceed on the assumption that the officer conducting
the dog sniff had no information about respondent except that he
had been stopped for [a traffic violation, and] omitted any
reference to facts about respondent that might have triggered a
modicum of suspicion.”      Illinois v. Cabellas, 543 U.S. 405, 407


                                     13
4:06-cr-03102-RGK-DLP   Doc # 70   Filed: 02/22/07   Page 14 of 14 - Page ID # 217



(2005).   Relying on Cabellas, Alexander held that even in the
absence of reasonable suspicion justifying further detention of
motorists, a four-minute detention between the conclusion of a
traffic stop and a drug dog’s alert was a de minimis detention
and thus, constitutionally permissible.4


     Neither Cabellas nor Alexander hold that an officer cannot
detain a motorist for a reasonable period of time while awaiting
the arrival of a drug dog when, as in this case, the officers
have reasonable, articulable suspicion that the defendants are
involved in ongoing criminal activity.


     IT THEREFORE HEREBY IS RECOMMENDED to the Honorable Richard
G. Kopf, United States District Judge, pursuant to 28 U.S.C.
§636(b)(1)(B), that the defendants’ motions to suppress, filings
38 and 43, be denied in all respects.

     The parties are notified that a failure to object to this
recommendation in accordance with the local rules of practice may
be held to be a waiver of any right to appeal the district
judge’s adoption of this recommendation.

     IT IS FURTHER HEREBY ORDERED: Trial is set for 9:00 a.m. on
May 7, 2007 for a duration of three trial days before the
Honorable Richard G. Kopf. Jury selection will be at the
commencement of trial.

     DATED this 22nd day of February, 2007.


                                   BY THE COURT:
                                   s/  David L. Piester
                                   David L. Piester
                                   United States Magistrate Judge


     4
      I note that the delay between denying consent and the alert
by a drug dog at the scene of this traffic stop was approximately
seven minutes. I need not reach but nonetheless note that it is
certainly arguable this detention did not even violate the de
minimus standard.

                                     14
